
388 U.S. 441 (1967)
FRIEDMAN
v.
NEW YORK.
No. 7.
Supreme Court of United States.
Decided June 12, 1967.
ON PETITION FOR WRIT OF CERTIORARI TO THE APPELLATE TERM OF THE SUPREME COURT OF NEW YORK, FIRST JUDICIAL DEPARTMENT.
Ira H. Holley and Eugene Gressman for petitioner.
Frank S. Hogan for respondent.
PER CURIAM.
The petition for a writ of certiorari is granted and the judgment of the Appellate Term of the Supreme Court of New York, First Judicial Department, is reversed. Redrup v. New York, 386 U. S. 767.
MR. JUSTICE HARLAN adheres to the views expressed in his separate opinions in Roth v. United States, 354 U. S. 476, 496, and Memoirs v. Massachusetts, 383 U. S. 413, 455, and on the basis of the reasoning set forth therein would affirm.
